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			2017-09-12T16:30:55+00:00		
	
						
				
					
						


	
	
	
		
		
		

		
		 

		
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												Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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Current Month october, 2017
			
				
				
				
				
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			Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				16oct10:00 am4:00 pmOral Arguments
							Event DetailsMonday, October 16, 2017
10:00 AM
S17G0541 Lucas v. Beckman Coulter, Inc. et al.
S17Q1559 Cahill v. United States
S17G0732 Southern Pain Specialist, P.C. v. Brown
S17G0733 Doherty v. Brown
S17G0737 Southeastern Pain Ambulatory Surgery
							
							
									Event Details
									Monday, October 16, 2017
10:00 AM
S17G0541 Lucas v. Beckman Coulter, Inc. et al.
S17Q1559 Cahill v. United States
S17G0732 Southern Pain Specialist, P.C. v. Brown
S17G0733 Doherty v. Brown
S17G0737 Southeastern Pain Ambulatory Surgery Center, LLC v. Brown
2:00 PM
S17G0641 Barnett et al v. Caldwell
S17A1646 Kemp v. The State
S17A1599 Franklin v. The State

								
							
						
						
							
							
								
									
																
										Time(Monday) 10:00 am - 4:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
												
							
							
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																News and Reports		
					
				10/12/17 – JUSTICE HONORED FOR WORK ON CRIMINAL JUSTICE REFORM
						
					
				10/11/17 – JUDGE SCHRADER TO HEAR GEORGIA SUPREME COURT CASE
						
					
				10/11/17 – CHIEF JUDGE COLLIER TO HEAR GEORGIA SUPREME COURT CASE
						
				
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